     Case: 1:20-cv-07807 Document #: 9 Filed: 01/22/21 Page 1 of 4 PageID #:112



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS


MARCI MARIE WEBBER,                               )
                                                  )
               Plaintiff,                         )
                                                  )
       vs.                                        )   Case No. 1:20-cv-07807
                                                  )
STATE OF ILLINOIS, et al.,                        )   The Hon. Charles R. Norgle, Sr.
                                                  )
               Defendants.                        )


                  HAROLD HIRSHMAN’S MOTION TO BE EXECUTED
                        FROM PRO BONO APPOINTMENT

       1.      With quite a heavy heart I file this motion to be relieved of the appointment in this

matter. I make this motion having interviewed the plaintiff on January 21, 2021 and her lawyer

in a related matter pending in the Illinois Appellate court on January 22,2021.

       2.      The Court has no way of knowing my involvement in pro bono matters but by my

estimate is that for the last ten years I have spent about a 800 hours a year on pro bono matters.

       3.      At present I am chief counsel in Rasho v. Walker 7- cv-1298 pending in the

Central District and chief trial counsel in Lippert v. Jeffreys 10-cv-4603 pending in this district.

Both of these cases began as challenges to the quality of mental and physical healthcare provided

by the Illinois Department of Corrections. Both cases have settled but because of Covid and

issues of compliance these cases have required significant time commitments in the past few

months and I contemplate the need for significant court proceedings in both cases in the next few

months. In Rasho there is a pending contempt motion and the need to litigate the extension of

the settlement agreement which expires by its terms in April.

       4.      In addition I am presently set for trial on April 1, in Montgomery Alabama in

McCullough v. City of Montgomery in what began as a class action and is now a trial of seven
      Case: 1:20-cv-07807 Document #: 9 Filed: 01/22/21 Page 2 of 4 PageID #:113



plaintiffs’ individual claims. I fervently hope because of Covid the trial will not take place until

August.

          5.   In the Northern District I am appointed counsel in Santiago v. Rabideau, 15-cv-

1856 a case which was set for trial in November but the courthouse closed. I believe it will one

of the first cases set for trial when this courthouse reopens. I am also counsel tin Gevas v. Obaisi

16-cv-10599 in this district and Ralston v. Baldwin ,16-cv-1190 in the Central District.

          6.   My pro bono work has been a source of great personal and professional

satisfaction for me and I have never turned down an appointment before. In one case I was

appointed but then withdrew after appointment when I had irreconcilable differences with a

client.

          7.   Based on my analysis this case will require a great deal of time consuming

discovery which will have to be initiated promptly. I simply cannot devote the time and effort

this matter requires.




Dated: January 22, 2021

                                                              Respectfully submitted,



                                                              By: /s/ Harold C. Hirshman


Harold C. Hirshman (ARDC# 1226290)
DENTONS US LLP
233 S. Wacker Drive, Suite 5900
Chicago, IL 60606
Telephone: (312) 876-8000
Facsimile: (312) 876-7934
Harold.hirshman@dentons.com
Case: 1:20-cv-07807 Document #: 9 Filed: 01/22/21 Page 3 of 4 PageID #:114
      Case: 1:20-cv-07807 Document #: 9 Filed: 01/22/21 Page 4 of 4 PageID #:115



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on this 22nd day of January, 2021, I filed the

foregoing with the Clerk of the Court using the CM/ECF system. Pursuant to Fed. R. Civ. P.

5(b)(3) and the Northern District of Illinois’ LR 5.9, I have thereby electronically served all

Filing Users.



                                                                     /s/ Harold C. Hirshman




116486633\V-2
